                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 ANTHONY LONG,                                        )
                                                      )
               Petitioner,                            )
                                                      )
 v.                                                   )       Nos.    1:12-CR-129-HSM-SKL-6
                                                      )               1:16-CV-263-HSM
 UNITED STATES OF AMERICA,                            )
                                                      )
               Respondent.                            )


                                  MEMORANDUM OPINION

        Before the Court is Petitioner’s motion to vacate, set aside, or correct his sentence pursuant

 to 28 U.S.C. § 2255 [Doc. 749].1 The United States responded in opposition on July 29, 2016

 [Doc. 753]; Petitioner replied in turn on September 14, 2016 [Doc. 760]. Recently, the United

 States filed a motion to deny and dismiss the petition based on an intervening decision of the

 Supreme Court [Doc. 777]. Petitioner did not respond and the time for doing so has now passed

 [Doc. 776]. For the reasons below, the motion to deny and dismiss [Doc. 777] will be GRANTED

 and the petition [Doc. 749] will be DENIED and DISMISSED WITH PREJUDICE.

 I.     BACKGROUND

        Petitioner conspired with others to obtain methamphetamine from Atlanta, Georgia, and

 redistribute it in other locations, including Polk County, Tennessee [Doc. 547 ¶ 3]. Petitioner

 worked as a courier transporting methamphetamine and cash between other co-defendants [Id.].




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         On February 11, 2016, Federal Defender Services of Eastern Tennessee (“FDSET”) was
 appointed for the limited purpose of reviewing the case to determine whether or not Petitioner is
 eligible for collateral relief based on the Johnson decision. See E.D. Tenn. SO-16-02 (Feb. 11,
 2016). Consistent with that appointment, FDSET filed the instant petition.


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        In 2014, Petitioner pled guilty to conspiring to distribute methamphetamine, in violation

 of 21 U.S.C. §§ 846 and 841(a)(1), (b)(1)(C) [Id. ¶ 1]. In his plea agreement, Petitioner “knowingly

 and voluntarily waive[d] the right to file any motions or pleadings pursuant to 28 U.S.C. § 2255,”

 except for “claims of ineffective assistance of counsel or prosecutorial misconduct” [Id. ¶ 11(b)].

        Based on a prior Georgia conviction for burglary and prior Oklahoma conviction for

 possession of a controlled substance with intent to distribute, the United States Probation Office

 deemed Petitioner to be a career offender under Section 4B1.1 of the United States Sentencing

 Guidelines with an advisory Guideline range of 188 to 235 months’ imprisonment [Presentence

 Investigation Report (PSR) ¶¶ 20, 28, 29, 49]. The Court sentenced Petitioner to a below-

 Guidelines term of 168 months’ incarceration on September 25, 2014 [Doc. 667]. He did not

 appeal and the judgment became final for purposes of § 2255(f)(1) on October 9, 2014. See, e.g.,

 Sanchez-Castellano v. United States, 358 F.3d 424, 428 (6th Cir. 2004) (an unappealed judgment

 of conviction becomes final when the fourteen-day period for filing a direct appeal has elapsed).

        The United States Supreme Court decided Johnson v. United States—invalidating the

 residual clause of the Armed Career Criminal Act (“ACCA”), 18 U.S.C. § 924(e)—on June 26,

 2015. 135 S. Ct. 2551 (2015). Petitioner filed the instant petition less than one year later [Doc.

 749 (challenging his career offender designation)].

        On March 6, 2017, the Supreme Court issued Beckles v. United States, which held that the

 United States Sentencing Guidelines are “not amenable to vagueness challenges.” 137 S.Ct. 886,

 894 (2017). Two weeks later, this Court entered an Order (1) explaining that Beckles necessarily

 meant that “Johnson . . . does not undermine sentences based on Guideline enhancements;” (2)

 instructing the parties to “file any motion that they want[ed] the Court to consider in conjunction

 with, or prior to, ruling on [the instant] petition[] on or before April 1, 2017;” and (3) requiring

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 that responsive pleadings be filed on or before April 15, 2017 [Doc. 776]. On March 26, 2017,

 the United States filed a motion to dismiss Petitioner’s Johnson-based challenge to his career

 offender designation in light of Beckles [Doc. 777]. Petitioner did not respond to that motion.

 II.     MOTION TO DISMISS WITH PREJUDICE

         In addition to the petition, this Court is in possession of the United States’ request to deny

 and dismiss Petitioner’s collateral challenge to her career offender designation in light of Beckles.

 Petitioner has not filed a response and the time for doing so has now passed [Doc. 776]. This

 Court interprets the absence of a response as a waiver of opposition. See, e.g., Notredan, LLC v.

 Old Republic Exch. Facilitator Co., 531 F. App’x 567, 569 (6th Cir. 2013) (explaining that failure

 to respond or otherwise oppose a motion to dismiss operates as both a waiver of opposition to, and

 an independent basis for granting, the unopposed motion); see also E.D. Tenn. L.R. 7.2 (“Failure

 to respond to a motion may be deemed a waiver of any opposition to the relief sought”).

         For the reasons discussed in detail below, that request [Doc. 777] will be GRANTED.

 III.    STANDARD OF REVIEW

         The relief authorized by 28 U.S.C. § 2255 “does not encompass all claimed errors in

 conviction and sentencing.” United States v. Addonizio, 442 U.S. 178, 185 (1979). Rather, a

 petitioner must demonstrate “(1) an error of constitutional magnitude; (2) a sentence imposed

 outside the statutory limits; or (3) an error of fact or law . . . so fundamental as to render the entire

 proceeding invalid.” Short v. United States, 471 F.3d 686, 691 (6th Cir. 2006) (quoting Mallett v.

 United States, 334 F.3d 491, 496–97 (6th Cir. 2003)). He “must clear a significantly higher hurdle

 than would exist on direct appeal” and establish a “fundamental defect in the proceedings which

 necessarily results in a complete miscarriage of justice or an egregious error violative of due

 process.” Fair v. United States, 157 F.3d 427, 430 (6th Cir. 1998).

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 IV.    ANALYSIS

        Petitioner articulates a single ground for relief, arguing that Johnson removed Georgia

 burglary from Section 4B1.2’s definition of “crime of violence” and that, without that conviction,

 he lacks sufficient predicate offenses for enhancement [Doc. 749].2 The United States opposes the

 requested relief for two reasons: Petitioner waived the right to collaterally challenge his sentence

 in his plea agreement; and, regardless, Georgia burglary remains a crime of violence under the

 Guideline residual clause in light of Beckles [Docs. 753, 777].

        A.      Waiver

        It is well established that an informed and voluntary waiver of the right to collaterally attack

 a conviction and sentence is enforceable. Watson v. United States, 165 F.3d 486, 489 (6th Cir.

 1999); United States v. McGlivery, 403 F.3d 361, 363 (6th Cir. 2005). The Sixth Circuit recently

 held that the same is true even where that waiver prevents a petitioner from challenging his base

 offense level or career offender enhancement based on Johnson. See In re Garner, No. 16-1655,



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         The ACCA mandates a fifteen-year sentence for any felon who unlawfully possesses a
 firearm after having sustained three prior convictions “for a violent felony or a serious drug
 offense, or both, committed on occasions different from one another.” 18 U.S.C. § 924(e)(1). The
 statute defines “violent felony” as “any crime punishable by imprisonment for a term exceeding
 one year” that (1) “has as an element the use, attempted use, or threatened use of physical force
 against the person of another” (the “use-of-physical-force clause”); (2) “is burglary, arson, or
 extortion, involves the use of explosives” (the “enumerated-offense clause”); or (3) “otherwise
 involves conduct that presents a serious potential risk of physical injury to another” (the “residual
 clause”). 18 U.S.C. § 924(e)(2)(B). It was this third clause—the residual clause—that the
 Supreme Court deemed unconstitutional in Johnson. 135 S. Ct. at 2563.

 Section 4B1.1 enhances a defendant’s offense level if he or she qualifies as a “career offender,”
 i.e., adult defendant whose offense of conviction is a “crime of violence or controlled substance
 offense” and who has “at least two prior felony convictions of either a crime of violence or a
 controlled substance offense.” U.S. Sentencing Manual § 4B1.1(a). “Crime of violence” under
 the Guidelines is defined in an almost identical manner as “violent felony” under the ACCA. See
 U.S. Sentencing Manual § 4B1.2(a) (adopting identical use-of-force and residual clauses as well
 as a nearly identical enumerated-offense clause).
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 2016 WL 6471761, at *1–2 (6th Cir. Nov. 2, 2016) (denying leave to file a successive petition

 challenging career offender enhancement based on Johnson where defendant voluntarily waived

 his right to raise collateral challenges).

         “The Federal Rules of Criminal Procedure give the parties ample room to tailor plea

 agreements to different needs—whether they are the right to appeal, the right to benefit from future

 changes in the law or other concerns that the defendant . . . may have.” United States v. Bradley,

 400 F.3d 459, 466 (6th Cir. 2005). For purposes of the instant case, Petitioner “knowingly and

 voluntarily” waived his right to collaterally challenge his sentence with the exception of cases

 which involve claims of ineffective assistance or prosecutorial misconduct [Doc. 547 ¶ 11(b)].

 The fact that “developments in the law [have] expand[ed] [Petitioner’s forfeited] right [of collateral

 review] . . . does not suddenly make [his] plea involuntary or unknowing or otherwise undo its

 binding nature.” United States v. McGlivery, 403 F.3d 361, 363 (6th Cir. 2005). In light of the

 binding nature of Petitioner’s wavier, the instant § 2255 motion will be dismissed. Accord United

 States v. Avery, No. 3:16-cv-2, 2016 WL 7467967, at *4–6 (S.D. Ohio Dec. 28, 2016) (denying

 Johnson-based challenge based on pre-Johnson waiver); United States v. Strauss, No. 16-cv-

 11397, 2016 WL 68733398, at *2–3 (E.D. Mich. Nov. 2, 2016) (same); United States v. Muller,

 No. 16-cv-20009, 2016 WL 6892268, at *2–3 (E.D. Mich. Nov. 2, 2016) (same).3



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         While this Court recognizes that courts within this district have repeatedly stated that it is
 “far from clear” that waiver of the right to collaterally challenge a sentence can be enforced to bar
 challenges based on the Johnson decision, Mefford v. United States, No. 3:15-cv-575, 2016 WL
 1737094, at *1, n. 1 (E.D. Tenn. May 2, 2016); Cox v. United States, No. 3:15-cv-362, 2016 WL
 552350, at *1, n. 1 (E.D. Tenn. Feb. 10, 2016); Nance v. United States, 3:15-cv-387, 2016 WL
 527193, at *1, n. 1 (E.D. Tenn. Feb. 9, 2016), each of those cases alleged improper categorization
 under the ACCA. Unlike mistaken enhancement under the ACCA, improper career offender or
 base offense level enhancement does not result in a sentence “in excess of the maximum authorized
 by law.” See, e.g., United States v. Thompson, No. 3:06-cr-56, 2008 WL 6506506, at *14 (W.D.
 Ky. Nov. 7, 2008) (explaining that knowing and voluntary waivers are enforceable so longs as
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        B.      Merits of Johnson-Based Guideline Challenge

        Even if the waiver contained in her plea agreement did not bar Petitioner’s challenge, it

 would fail because the Guidelines are not subject to void for vagueness analysis. Beckles, 137 S.

 Ct. 894. As such, the Johnson decision does not justify the collateral relief that Petitioner requests.

 IV.    CONCLUSION

        For the reasons discussed above, the United States’ motion to deny and dismiss [Doc. 777]

 will be GRANTED and Petitioner’s § 2255 motion [Doc. 749] will be DENIED and DISMISSED

 WITH PREJUDICE. The Court will CERTIFY any appeal from this action would not be taken

 in good faith and would be totally frivolous. Therefore, this Court will DENY Petitioner leave to

 proceed in forma pauperis on appeal. See Rule 24 of the Federal Rules of Appellate Procedure.

 Petitioner having failed to make a substantial showing of the denial of a constitutional right, a

 certificate of appealability SHALL NOT ISSUE. 28 U.S.C. § 2253; Rule 22(b) of the Federal

 Rules of Appellate Procedure.

        SO ORDERED this 19th day of April, 2017.


                                                                /s/ Harry S. Mattice, Jr.
                                                            HARRY S. MATTICE, JR.
                                                        UNITED STATES DISTRICT JUDGE




 they do not result in a miscarriage of justice and that a miscarriage of justice arises where the
 sentence imposed exceeds the statutory maximum permissible).
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